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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   RUSSELL L. CARLBERG
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2748

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 8
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                         EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )
                                   )          CR. NO. S-11-0458 GEB
12               Plaintiff,        )
                                   )          ORDER DISMISSING COUNTS OF
13        v.                       )          INDICTMENT AS TO JAKE WEATHERS
                                   )
14   JAKE WEATHERS,                )
                                   )
15               Defendant.        )
     ______________________________)
16

17              Based on the government’s motion to dismiss without

18   prejudice counts one and two of the indictment against defendant

19   Jake Weathers,

20              IT IS HEREBY ORDERED that counts one and two of the

21   above-captioned indictment be and hereby are dismissed without

22   prejudice as to defendant Jake Weathers only.

23   Dated:   September 15, 2012
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25                                   GARLAND E. BURRELL, JR.
                                     Senior United States District Judge
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